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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


___________________________________
                                       )
UNITED STATES OF AMERICA               )
               Plaintiff,              )
                                       )     CRIMINAL ACTION
v.                                     )     NO. 1:17-10339-WGY
                                       )
                                       )
STEPHANIE DiPIERRO                     )
               Defendant.              )
                                       )

                ORDER EXTENDING SELF-SURRENDER DATE

YOUNG, D.J.                                             April 10, 2019


     The defendant is currently ordered to self surrender to the
place of confinement before 2:00 PM on June 11, 2019. In
accordance with the order entered this date granting the assented
to motion to postpone the defendant’s self surrender date (DE 43),
the defendant shall self surrender to the place of confinement
before 2:00 PM on June 11, 2019.


SO ORDERED.


                                        /s/ William G. Young
                                       WILLIAM G. YOUNG
                                       UNITED STATES DISTRICT JUDGE
